[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]               ORDER GRANTING STAY OF DECISION. SUA SPONTE
By decision dated October 23, 2000, this Court granted the habeas CT Page 14405 corpus petition, ex parte and sua sponte. Since the Court's previous decisions in the matters of Gus Woods, Jazrael King and Miguel Rentas on which decisions the granting of this habeas was based are all on appeal to the State Appellate/Supreme Court, the Court hereby stays the decision in this matter, sua sponte, until subsequent to the time that the Appellate/Supreme Court has entered a decision on the appeals of the aforementioned cases.
Rittenband, JTR